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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ALIGN TECHNOLOGY, INC., §
§
Plaintiff §
§
vs. § Case No.
§ .
CLEARCORRECT, INC., § JURY DEMANDED
CLEARCORRECT OPERATING, LLC, §
and CLEARCORRECT HOLDINGS, LLC §

Defendants.

COMPLAINT

Plaintiff Align Technology, Inc. files this complaint for patent infringement against
Defendant ClearCorrect, Inc., ClearCorrect Operating, LLC, and ClearCorrect Holdings, LLC
(collectively, “ClearCorrect”):

THE PARTIES

1. Plaintiff Align Technology, Inc. (“Align”) is a corporation organized under the laws of
Delaware having its principal place of business in Santa Clara County, California.

2. Upon information and belief, at all relevant times mentioned below, Defendant
ClearCorrect, Inc. has been a corporation organized under the laws of Texas with a principal
place of business in Houston, Texas.

3. Upon information and belief, at all relevant times mentioned below, Defendant
ClearCorrect Operating, LLC, has been a limited liability company organized under the laws of

Texas with a principal place of business in Houston, Texas.

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4. Upon information and belief, at all relevant times mentioned below, Defendant
ClearCorrect Holdings, LLC, has been a limited liability company organized under the laws of
Delaware with a principal place of business in Houston, Texas.

JURISDICTION AND VENUE
5. This lawsuit is an action for patent infringement arising under the patent laws of the
United States, 35 U.S.C. §§ 271 et seq. The Court has jurisdiction over this action pursuant to 28
U.S.C. §§ 1331 and 1338(a).
6. ClearCorrect resides in this judicial district.
7. Moreover, on information and belief, ClearCorrect regularly conducts business in this
judicial district, and certain of the acts complained of herein occurred in this judicial district.
8. Accordingly, the Court has personal jurisdiction over ClearCorrect, and venue is proper
in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and 1400(b).

THE PATENTS-IN-SUIT

9. On November 2, 1999, United States Patent No. ’5,975,893 (“the ‘893 patent”), entitled
“Method and System for Incrementally Moving Teeth,” was issued to Align. At all relevant
times Align has owned the ‘893 patent with full and exclusive right to bring suit to enforce the
patent. Patent No. 5,975,893 is attached hereto as Ex. 1.
10. On April 17, 2001, United States Patent No. 6,217,325 (“the ‘325 patent”), entitled
“Method and System for Incrementally Moving Teeth,” was issued to Align. At all relevant
times Align has owned the ‘325 patent with full and exclusive right to bring suit to enforce the

patent. Patent No. 6,217,325 is attached hereto as EX. 2.

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11. On October 29, 2002, United States Patent No. 6,471,511 (“the ‘511 patent”), entitled
“Defming Tooth-Moving Appliances Computationally,” was issued to Align. At all relevant
times Align has owned the ‘511 patent with full and exclusive right to bring suit to enforce the
patent. Patent No. 6,471,511 is attached hereto as Ex. 3.

12. On March 16, 2004, United States Patent No. 6,705,863 (“the ‘863 patent”), entitled
“Attachment 1)evices and Methods for a Dental Appliance,” was issued to Align. At all relevant
times Align has owned the ‘863 patent with full and exclusive right to bring suit to enforce the
patent. Patent No. 6,705,863 is attached hereto as Ex. 4.

13. On April 20, 2004, United States Patent No. 6,722,880 (“the ‘880 patent”), entitled
“Method and System for Incrementally Moving Teeth,” was issued to Align. At all relevant
times Align has owned the ‘880 patent With full and exclusive right to bring suit to enforce the
patent. Patent No. 6,722,880 is attached hereto as Ex. 5.

14. On October 24, 2006, United States Patent No. 7,125,248 (“the ‘24§§ patent”), entitled
l “Attachment Devices and Methods for a Dental Appliance,” was issued to Align. At all relevant
times Align has owned the ‘248 patent with full and exclusive right to bring suit to enforce the
patent. Patent No. 7,125,248 is attached hereto.as Ex. 6.

15. On November 14, 2006, United States Patent No. 7,134,874 (“the ‘874 patent”), entitled
“Computer Automated Development of an Orthodontic Treatment Plan and Appliance,” was
issued to Align. At all relevant times Align has owned the ‘874 patent with full and exclusive
right to bring suit to enforce the patent. Patent No. 7,134,874 is attached hereto as Ex. 7.

16. On August 25, 2009, United States Patent No. 7,5_78,674 (“the ‘674 patent”), entitled

“Methods for Correcting Tooth Movements Midcourse in Treatment,” was issued to Align. At

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all relevant times Align has owned the ‘674 patent with full and exclusive right to bring suit to
enforce the patent. Patent No. 7,578,674 is attached hereto as Ex. 8.
NOTICE OF THE PATENTS-IN-SUIT
17. Align has complied and complies with the requirements of 35 U.S.C. § 287 by placing a
notice of the ‘893, ‘863, and ‘248 patents on all clear aligner therapy systems it manufactures
and sells. l
18. ClearCorrect has been on notice of the ‘893, ‘325, ‘51 1, ‘863, ‘880, ‘248, and ‘874
patents at least since February 17, 2009 when ClearCorrect filed a complaint seeking a
declaratory judgment that ClearCorrect did not infringe on any of Align’s patents.
19. ClearCorrect voluntarily dismissed its declaratory judgment complaint without prejudice
after Align filed a motion to dismiss for lack of subject matter jurisdiction
COUNT ONE:
INFRINGEMENT OF THE ‘893 PATENT
20. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
21. ln violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘893
patent by importing, making, offering to sell, and selling clear aligner therapy systems.
22. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘893 patent by contributing to or actively inducing the infringement by others of the ‘893 patent
by providing clear aligner therapy systems.
23. Upon information and belief, ClearCorrect has willfully infringed the ‘893 patent.

24. As a result of ClearCorrect’s infringement, Align has suffered and Will suffer damages

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25. Upon information and belief, ClearCorrect’s acts of infringement of the ‘893 patent will
continue after service of this complaint unless enjoined by the Court.
26. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘893
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights. Thus, Align is entitled to preliminary and permanent injunctions against further
infringement v l l l
COUNT TWO:

INFRINGEMENT OF THE ‘325 PATENT
27. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
28. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘325
patent by importing, making, offering to sell, and selling clear aligner therapy systems.
29.' In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘325 patent by contributing to or actively inducing the infringement by others of the ‘325 patent
by providing clear aligner therapy systems.
30. Upon information and belief, ClearCorrect has willfully infringed the ‘325 patent.
31. As a result of ClearCorrect’s infringement, Align has suffered and will suffer damages.
32. Upon information and belief, ClearCorrect’s acts of infringement of the ‘325 patent will
continue after service of this complaint unless enjoined by the Court.
33. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘325
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights. Thus, Align is entitled to preliminary and permanent injunctions against further

infringement

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COUNT THREE:
INFRINGEMENT OF THE ‘511 PATENT
34. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
35 . In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘511
patent by importing, making, offering to sell, and selling clear aligner therapy systems.
36. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘511 patent by contributing to or actively inducing the infringement by others of the ‘511 patent
by providing clear aligner therapy systems.
37. Upon information and belief, ClearCorrect has willfully infringed the ‘511 patent.
38. As a result of ClearCorrect’s infringement, Align has suffered and will suffer damages.
39. Upon information and belief, ClearCorrect’s acts of infringement of the ‘511 patent will
continue after service of this complaint unless enjoined by the Court. - v
40. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘511
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights. Thus, Align is entitled to preliminary and permanent injunctions against further
infringement
COUNT FOUR:
INFRINGEMENT OF THE ‘863 PATENT
41. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
42. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘863

patent by importing, making, offering to sell, and selling clear aligner therapy systems.

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43. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘863 patent by contributing to or actively inducing the infringement by others of the ‘863 patent
by providing clear aligner therapy systems.
44. Upon information and belief, ClearCorrect has willfully infringed the ‘863 patent.
45. As a result of ClearCorrect’s infringement, Align has suffered and will suffer damages
l 46. Upon information and belief, ClearCorrect’s acts of infringement of the ‘863 patent will
continue after service of this complaint unless enjoined by the Court.
47. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘863
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights. Thus, Align is entitled to preliminary and permanent injunctions against further
infringement
COUNT FIVE:
INFRINGEMENT OF THE ‘880 PATENT
48. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
49. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘880
patent by importing, making, offering to sell, and selling clear aligner therapy systems.
50. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘880 patent by contributing to or actively inducing the infringement by others of the ‘880 patent
by providing clear aligner therapy systems.
51. Upon information and belief, ClearCorrect has willfully infringed the ‘880 patent.

52. As a result of ClearCorrect’s infringement, Align has suffered and will suffer damages.

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53. Upon information and belief, ClearCorrect’s acts of infringement of the ‘880 patent will
continue after service of this complaint unless enjoined by the Court.
54. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘880
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights Thus, Align is entitled to preliminary and permanent injunctions against further
infringement l l v
COUNT SIX:

INFRINGEMENT OF THE ‘248 PATENT
55. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
56. ln violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘248
patent by importing, making, offering to sell, and selling clear aligner therapy systems
57. In violation of 35 U.S.C. § 271, ClearCorrect has inhinged and continues to infringe the
"248 patent by contributing to or actively inducing the infringement by others of the ‘248 patent
by providing clear aligner therapy systems
58. Upon information and belief, ClearCorrect has willfi,rlly infringed the ‘248 patent.
59. As a result of ClearCorrect’s infringement Align has suffered and will suffer damages
60. Upon information and belief, ClearCorrect’s acts of infringement of the ‘248 patent will
continue after service of this complaint unless enjoined by the Court.
61. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘248
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights Thus, Align is entitled to preliminary and permanent injunctions against further

infringement

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COUNT SEVEN:

INFRINGEMENT OF THE ‘874 PATENT
62. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
63. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘874
patent by importing, mal<ing, offering to sell, and selling clear aligner therapy systems
64. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘874 patent by contributing to or actively inducing the infringement by others of the ‘874 patent
by providing clear aligner therapy systems
65. Upon information and belief, ClearCorrect has willfully infringed the ‘874 patent.
66. As a result of ClearCorrect’s infringement, Align has suffered and will suffer damages
67. Upon information and belief, ClearCorrect’s acts of infringement of the ‘874 patent will
continue after service of this complaint unless enjoined by the Court. l -
68. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘874
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights Thus, Align is entitled to preliminary and permanent injunctions against further
infiingement.

COUNT EIGHT:

INFRINGEMENT OF THE ‘674 PATENT
69. Align realleges and incorporates herein the allegations of paragraphs 1 through 19 of this
Complaint as if fully set forth herein.
70. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and is still infringing the ‘674

patent by irnporting, mal<ing, offering to sell, and selling clear aligner therapy systems

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71. In violation of 35 U.S.C. § 271, ClearCorrect has infringed and continues to infringe the
‘674 patent by contributing to or actively inducing the infringement by others of the ‘674 patent
by providing clear aligner therapy systems
72. Upon information and belief, ClearCorrect has willfully infringed the ‘674 patent.
73. As a result of ClearCorrect’s infringement Align has suffered and will suffer damages
74. Upon information and belief`, ClearCorrect’s acts of infringement of the ‘674' patent will
continue after service of this complaint unless enjoined by the Court.
75. Unless ClearCorrect is enjoined by the Court from continuing its infringement of the ‘674
patent, Align will suffer additional irreparable damages and impairment of the value of its patent
rights Thus, Align is entitled to preliminary and permanent injunctions against further
infringement
76. Align demands trial by jury.
PRAYER FOR RELIEF

Therefore, Align prays for the following relief:

(a) a preliminary and final injunction against the continuing infringement pursuant to
35 U.S.C. § 283;

(b) damages adequate to compensate Align for ClearCorrect’S infringement of the
‘893, ‘325, ‘51 1, ‘863, ‘880, ‘248, ‘874, and ‘674 patents pursuant to 35 U.S.C. § 284;

(c) treble damages pursuant to 35 U.S.C. § 284;

(d) an accounting for damages;

(e) interest and costs; and

(f) such other and additional relief as the Court deems just and proper.

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Respectfully submitted,

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